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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 REGINALD C. NOBLE,
                                                 Case No. 2:22-cv-00295-JDW
                 Plaintiff

        v.

 COURT OF COMMON PLEAS,
 PHILADELPHIA COUNTY, et al.,

                 Defendants


                                          ORDER

       AND NOW, this 1st day of July, 2022, upon review of Plaintiff Reginald Noble’s

Notice Of Mistaken Use (ECF No. 23), the Court notes as follows.

       1.       In a Memorandum and Order dated March 1, 2022, the Court held that it

did not have subject matter jurisdiction over the claims Mr. Noble sought to remove to

federal court. (See ECF Nos. 14 & 15.) On June 21, 2022, Mr. Noble filed a letter, which the

Court construed as an Amended Notice Of Removal, removing what appeared to be the

same claims to the Court. (See ECF No. 19.) In light of its prior decision, the Court ordered

Mr. Noble to show cause explaining why the Court has subject matter jurisdiction over his

claims and why the Court should not impose sanctions for frivolous filings. (See ECF No.

20.)

       2.       On June 30, 2022, Mr. Noble notified the Court that he made a mistake and

used an incorrect docket number on the Amended Notice Of Removal. (ECF No. 23.)
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     Therefore, it is ORDERED that Mr. Noble’s Amended Notice Of Removal is

STRICKEN.

                                        BY THE COURT:


                                        /s/ Joshua D. Wolson
                                        JOSHUA D. WOLSON, J.




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